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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION

             PASCUAL MARROQUIN-                         ::    MOTION TO VACATE
             ALVAREZ,                                   ::    28 U.S.C. § 2255
                 Movant,                                ::
                                                        ::    CRIMINAL NO.
                   v.                                   ::    1:08-CR-0363-TWT-RGV-8
                                                        ::
             UNITED STATES OF AMERICA,                  ::    CIVIL ACTION NO.
                 Respondent.                            ::    1:13-CV-3127-TWT-RGV

                  ORDER FOR SERVICE OF REPORT AND RECOMMENDATION

                   Attached is the report and recommendation of the United States Magistrate

             Judge made in accordance with 28 U.S.C. § 636(b)(1) and this Court’s Local Rule 72.

             Let the same be filed and a copy, with a copy of this order, be served upon counsel for

             the parties, or if a party is not represented, then directly upon said party.

                   Each party may file written objections, if any, to the report and recommendation

             within fourteen (14) days after being served with a copy of it. 28 U.S.C. § 636(b)(1).

             Should objections be filed, they shall specify with particularity the alleged error(s)

             made (including reference by page number to the transcript if applicable) and shall be

             served upon the opposing party. The party filing objections will be responsible for

             obtaining and filing the transcript of any evidentiary hearing for review by the district

             court. If no objections are filed, the report and recommendation may be adopted as the




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             opinion and order of the district court and any appeal of factual findings will be limited

             to a review for plain error or manifest injustice. United States v. Slay, 714 F.2d 1093

             (11th Cir. 1983) (per curiam).

                   The Clerk is DIRECTED to submit the report and recommendation with

             objections, if any, to the district court after expiration of the above time period.

                   IT IS SO ORDERED this 23rd day of October, 2013.




                                                      RUSSELL G. VINEYARD
                                                      UNITED STATES MAGISTRATE JUDGE




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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF GEORGIA
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             PASCUAL MARROQUIN-                        ::   MOTION TO VACATE
             ALVAREZ,                                  ::   28 U.S.C. § 2255
                 Movant,                               ::
                                                       ::   CRIMINAL NO.
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                                                       ::
             UNITED STATES OF AMERICA,                 ::   CIVIL ACTION NO.
                 Respondent.                           ::   1:13-CV-3127-TWT-RGV


                              FINAL REPORT AND RECOMMENDATION

                   This matter has been submitted to the undersigned Magistrate Judge for

             consideration of movant Pascual Marroquin-Alvarez’s pro se motion to vacate, set

             aside, or correct his sentence pursuant to 28 U.S.C. § 2255. [Doc. 757]. For the

             reasons stated herein, the undersigned finds that this § 2255 motion is time barred and

             RECOMMENDS that this action be DISMISSED pursuant to Rule 4(b) of the Rules

             Governing Section 2255 Proceedings (hereinafter “Rule 4(b)”).1




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                      Rule 4(b) provides that: “If it plainly appears from the motion, any attached
             exhibits, and the record of prior proceedings that the moving party is not entitled to
             relief, the judge must dismiss the motion and direct the clerk to notify the moving
             party.” See also Edwards v. United States, 295 F. App’x 320, 321 (11th Cir. 2008)
             (per curiam) (affirming district court’s sua sponte denial of § 2255 motion as time-
             barred).



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                                       I. PROCEDURAL HISTORY

                   A federal grand jury in the Northern District of Georgia returned an indictment

             charging Marroquin-Alvarez in Count One with conspiracy to possess with intent to

             distribute at least 5 kilograms of a mixture containing cocaine and/or at least 1,000

             kilograms of a mixture containing marijuana, in violation of 21 U.S.C. §§ 841(a)(1),

             (b)(1)(A)(ii), (vii) and 846; and in Count Seven with possession with intent to

             distribute at least 5 kilograms of a mixture containing cocaine, in violation of

             §§ 841(a)(1), (b)(1)(A)(ii) and 18 U.S.C. § 2. [Doc. 1]. Marroquin-Alvarez entered

             a non-negotiated guilty plea to both counts. [Doc. 399]. The Court imposed a total

             sentence of 235 months of imprisonment. [Doc. 539]. Marroquin-Alvarez appealed

             his sentence, and on February 2, 2011, the United States Court of Appeals for the

             Eleventh Circuit affirmed. United States v. Marroquin-Alvarez, 412 F. App’x 244,

             246 (11th Cir. 2011).




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                    Marroquin-Alvarez filed this pro se § 2255 motion on September 12, 2013.2

             [Doc. 757 at 6]. Marroquin-Alvarez raises six grounds for relief, all of which

             challenge his sentence based on the United States Supreme Court’s June 17, 2013,

             decision in Alleyne v. United States, 133 S. Ct. 2151 (2013). [Doc. 757-1 at 3-22].

             In Alleyne, the Supreme Court extended its holding in Apprendi v. New Jersey, 530

             U.S. 466, 490 (2000), “that any fact that increased the prescribed statutory maximum

             sentence must be an ‘element’ of the offense to be found by the jury,” to apply to “any

             fact that increases the mandatory minimum.” Alleyne, 133 S. Ct. at 2154-55. The

             Supreme Court concluded that the jury must find beyond a reasonable doubt that the

             defendant “brandished” a gun in order to apply the seven-year mandatory minimum

             under 18 U.S.C. § 924(c)(1)(A)(ii). Id. at 2162-63. Marroquin-Alvarez contends that

             this Court erred by sentencing him based on a drug amount not charged in the

             indictment and by enhancing his base offense level based on a leadership role to which

             he never admitted. [Doc. 757-1 at 3-22].


                    2
                     Pursuant to the “mailbox rule,” a pro se prisoner’s motion to vacate is deemed
             filed on the date it is delivered to prison authorities for mailing. 28 U.S.C. foll. § 2255,
             Rule 3(d); see also Washington v. United States, 243 F.3d 1299, 1301 (11th Cir. 2001)
             (per curiam). Absent evidence to the contrary, the Court assumes that the motion was
             delivered to prison authorities on the day the prisoner signed it. Washington, 243 F.3d
             at 1301.

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                                                 II. DISCUSSION

                   A § 2255 motion is subject to a statutory one-year limitation period, which runs

             from the latest of the following:

                   (1) the date on which the judgment of conviction becomes final;

                   (2) the date on which the impediment to making a motion created by
                   governmental action in violation of the Constitution or laws of the United
                   States is removed, if the movant was prevented from making a motion by
                   such governmental action;

                   (3) the date on which the right asserted was initially recognized by the
                   Supreme Court, if that right has been newly recognized by the Supreme
                   Court and made retroactively applicable to cases on collateral review; or

                   (4) the date on which the facts supporting the claim or claims presented
                   could have been discovered through the exercise of due diligence.

             28 U.S.C. § 2255(f). In this case, there is no claim that the circumstances set forth in

             subparagraphs (2) or (4) of § 2255(f) apply.

                   Marroquin-Alvarez’s conviction became final, for purposes of § 2255(f)(1), on

             May 3, 2011, ninety days after the Eleventh Circuit affirmed his sentence. See Clay

             v. United States, 537 U.S. 522, 525 (2003) (“[A] judgment of conviction becomes final

             when the time expires for filing a petition for certiorari contesting the appellate court’s

             affirmation of the conviction.”); Sup. Ct. R. 13(1) (providing that a petition for a writ

             of certiorari must be filed within ninety days after the entry of judgment). Because

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             Marroquin-Alvarez did not file his § 2255 motion until September 12, 2013,

             approximately two years and four months after his conviction became final, it was not

             timely under § 2255(f)(1).

                   Subparagraph (3) of § 2255(f) does not save Marroquin-Alvarez’s motion

             because Alleyne has not been “made retroactively applicable to cases on collateral

             review.” See 28 U.S.C. § 2255(f)(3). Since “Apprendi does not apply retroactively

             on collateral review,” McCoy v. United States, 266 F. 3d 1245, 1258 (11th Cir. 2001),

             and because Alleyne “is based on an extension of Apprendi, [Marroquin-Alvarez]

             cannot show that the Supreme Court has made that decision retroactive to cases already

             final on direct review.” In re Dean, 375 F.3d 1287, 1290 (11th Cir. 2004).

                   Marroquin-Alvarez does not contend that he is actually innocent and has not

             alleged extraordinary circumstances that might excuse the late filing of his § 2255

             motion. See McQuiggin v. Perkins, 133 S. Ct. 1924, 1928, 1936 (2013) (A plea of

             actual innocence can overcome the one-year limitations period for filing a federal

             habeas corpus action if the movant “presents ‘evidence of innocence so strong that a

             court cannot have confidence in the outcome of the trial unless the court is also

             satisfied that the trial was free of nonharmless constitutional error.’” (citing Schlup v.

             Delo, 513 U.S. 298, 316 (1995)); Sandvik v. United States, 177 F.3d 1269, 1271 (11th

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             Cir. 1999) (per curiam) (“Equitable tolling is appropriate when a movant untimely files

             because of extraordinary circumstances that are both beyond his control and

             unavoidable even with diligence.”). Accordingly, Marroquin-Alvarez’s § 2255 motion

             is due to be dismissed as untimely.

                                III. CERTIFICATE OF APPEALABILITY

                   Rule 22(b)(1) of the Federal Rules of Appellate Procedure provides that an

             applicant for § 2255 relief “cannot take an appeal unless a circuit justice or a circuit

             or district judge issues a certificate of appealability under 28 U.S.C. § 2253(c).” Rule

             11 of the Rules Governing Section 2255 Proceedings for the United States District

             Courts provides, “The district court must issue or deny a certificate of appealability

             when it enters a final order adverse to the applicant.” Section 2253(c)(2) of Title 28

             states that a certificate of appealability (“COA”) shall not issue unless “the applicant

             has made a substantial showing of the denial of a constitutional right.” A movant

             satisfies this standard by showing “that reasonable jurists could debate whether (or, for

             that matter, agree that) the [motion] should have been resolved in a different manner

             or that the issues presented were ‘adequate to deserve encouragement to proceed

             further.” Miller-El v. Cockrell, 537 U.S. 322, 336 (2003). Because the dismissal of




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             Marroquin-Alvarez’s § 2255 motion as time barred is not debatable by jurists of

             reason, the undersigned recommends that he be denied a COA.

                                           IV. CONCLUSION

                   For the foregoing reasons, IT IS HEREBY RECOMMENDED that this 28

             U.S.C. § 2255 motion to vacate sentence, [Doc. 757], be DISMISSED pursuant to

             Rule 4(b) and that a COA be DENIED.

                   The Clerk is DIRECTED to terminate the referral of the § 2255 motion to the

             Magistrate Judge.

                   SO RECOMMENDED, this 23rd day of October, 2013.




                                                 RUSSELL G. VINEYARD
                                                 UNITED STATES MAGISTRATE JUDGE




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